1

    -
    .rhr,g~,,

    CY
                    (9101) lnc,,,dcr violat~onrafCondm~onrofRelevc v well v non-appczrmcc nslmunb for forfctlun
                                Case 1:06-cr-00138-AWI Document 10 Filed 03/29/06 Page 1 of 2


                                      EBSTEBN                            District of                              ~rpoRRIB

            UNITED STATES OF AMERICA
                                                                                                                                  2 9 2006
                                    v.

                                                                                   BOND


                                Defendant
                                                                                   Case Number:        $ ; ' 0 b f l ~0
           Non-surety: I, the undersigned defendant acknowledge that I and my. . .
           Surety: We, the undersigned, jointly and severally acknowledge that we and our. . .
    personal re resentatives, jointly and severally, are bound to pay to the United States of America the sum of
    %     ago,       U-UD                      , and there has been deposited in the Registry of the Court the sum of
    %           )                                         in cash or              N/A                                      (describe other security.)
                                                                                                   . .
           The conditions of this bond are that the defendant,
                                                                                                 u
                                                                                                   I I?           Sidhd
                                                                                                                   Nme>
    is to (I) appear before this court and at such other places as the defendant may be requiredtd appear, in accordance with
    any and all orders and directions relating to the defendant's appearance in this case, including appearance for violation
    of a condition of defendant's release as may be ordered or notified by this court or any other United States District
    Court to which the defendant may be held to answer or the cause transferred; (2) comply with all conditions of release
    imposed by the c o u and ~ (3) abide by any jud,pent entered in such matter by surrendering to serve any sentence
    imposed and obeying any order or direction in connection with such judgment.

            It is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which
    shall continrle until such time as the undersigned are exonerated.

            If tlie defendant appears as ordered or notified and othenvise obeys and performs the foregoing conditions of this
    bond, then this bond is to be void, but if the defendant fails to obey or perform any of these conditions, payment of the
    amount of this bond shall be due forthwith. Forfeiture of this bond for any breach of its conditions may be declared by
    any United States District Court having cognizance of the above entitled matter at the time of such breach and if the
    bond is forfeited and if the forfeiture is not set aside or remitted, judgment, may be entered upon motion in such United
    States District COOKagainst each debtor jointly and severally for the amount above stated, together with interest and
    costs, and esecutlon may be issued and payment secured as provided by the Federal Rules of Criminal Procedure and
    any other laws of tlie United States.
                                                                              U.S. D i s t r i c t C o u r t , ED of CA
            This bond is signed on                                  at         Fresno. C a l i f o r n i a
                                                            Dale                                                    Plxc

    Defendant                                                               Address

                                                                            Address

                                                                            Address

                                                             On         ~/*/oc          'Dale




           Approved:                                                                    cc:     AUSA7 P T S 7 Fed Defender
                      Case 1:06-cr-00138-AWI Document 10 Filed 03/29/06 Page 2 of 2



                                               JUSTIFICATION OF SURETIES

       I, the undersigned surety, say that I reside at
                                                                              -.
                                                                                                    ;and that my net worth is the sum of

           cXT~/mD                                                                                       dollars (S                   ).

       I furher state that




       Sworn to before me and subscribed in my presence on
                                                                                                            Due

at   U.S. D       i   s    t   r     i   c    t 0 Str~tre+=+ F r ~ ~ n nr i.l i f n - i .
                                                                      P1XC

                                             Deuutv C l e r k
                          N-       a d Edc                                                  S   i   ~ ofmJudicial Officer/CIffk




       I, the undersigned surety, stare that I reside at            -
                                                                                                    ;and that my net worth is the sum of

                                                                                                        dollars (S                   ).

       I further state that




       Sworn to before me and subscribed in my presence on
                                                                                                            Dare
at     U.S. ~ i s $ r i c t / $ l o u r t , 1130 0 S t r e e t . Fr-mia
                                                                      Place

           <
                          A          1          Deputy Clerk
     V-      V            N m c mdTidc                                             &


Justification Approved:
                                                  Judicitl Oflicn
